           9:22-cr-00658-RMG Date Filed 09/27/23 Entry Number 336         Page 1 of 1
USCA4 Appeal: 23-4509   Doc: 51   Filed: 09/27/2023   Pg: 1 of 1


                                                               FILED: September 27, 2023

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                         No. 23-4509 (L)
                                     (9:22-cr-00658-RMG-1)
                                     ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        RUSSELL LUCIUS LAFFITTE

                     Defendant - Appellant

                                      ___________________

                                           ORDER
                                      ___________________

              Upon review of submissions relative to the motion for release pending

        appeal, the court denies the motion.

              Entered at the direction of Judge Heytens with the concurrence of Judge

        Agee and Judge Thacker.

                                               For the Court

                                               /s/ Nwamaka Anowi, Clerk
